                  Case 3:22-cv-07222 Document 1 Filed 11/16/22 Page 1 of 8



1    SHANNON LISS-RIORDAN (SBN 310719)
     (sliss@llrlaw.com)
2
     THOMAS FOWLER (pro hac vice forthcoming)
3    (tfowler@llrlaw.com)
     LICHTEN & LISS-RIORDAN, P.C.
4    729 Boylston Street, Suite 2000
     Boston, MA 02116
5
     Telephone:     (617) 994-5800
6    Facsimile:     (617) 994-5801

7    Attorneys for Plaintiff Francisco Rodriguez,
     on behalf of himself and all others similarly situated
8

9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
11

12
                                                        Case No. 3:22-cv-7222
13   FRANCISCO RODRIGUEZ, on behalf of
     himself and all others similarly situated,
14
                                                        CLASS ACTION COMPLAINT AND
15                            Plaintiff,                JURY DEMAND
16                 v.                                         1. VIOLATION OF WARN ACT
17                                                               (29 U.S.C. §§ 2101 ET SEQ.)
     TWITTER, INC. and PRO UNLIMITED, INC.                    2. VIOLATION OF CALIFORNIA
18                                                               WARN ACT (CAL. LAB. CODE §§
                               Defendants                        1400 ET SEQ.)
19
                                                              3. FAILURE TO PAY ALL WAGES
20                                                               AND BENEFITS IMMEDIATELY
                                                                 UPON TERMINATION (CAL. LAB.
21                                                               CODE §§ 201, 203 AND 227.3)
22

23

24

25

26

27
                                                      1
28                                         CLASS ACTION COMPLAINT
                  Case 3:22-cv-07222 Document 1 Filed 11/16/22 Page 2 of 8



1
     I.     INTRODUCTION
2
            1.      Plaintiff Francisco Rodriguez files this Class Action Complaint against
3
     Defendants Twitter, Inc. (“Twitter”) and PRO Unlimited, Inc. d/b/a Magnit (“PRO” or “Magnit”),
4
     on his own behalf and on behalf of potentially thousands of other employees, challenging
5
     Defendants’ violation of the federal Worker Adjustment and Retraining Notification Act, 29
6
     U.S.C. § 2101 et seq. (the “WARN Act”), and, for those employees who worked in California,
7
     the California WARN Act, Cal. Lab. Code § 1400 et seq. (the “California WARN Act”), as well
8
     as failure to provide the employees’ final pay and benefits on the same day that they were
9

10
     terminated, in violation of the California Labor Code §§ 201, 203, and 227.3.

11          2.      As described further below, Plaintiff, along with thousands of other similarly

12   situated employees, were employed by Twitter through Magnit, a payroll administration

13   company. While these employees were classified as employees of Magnit, the duties that they

14   performed for Twitter were indistinguishable from the employees who were employed directly

15   by Twitter. Twitter referred to these employees as its “contingent workforce.”
16          3.      Multi-billionaire Elon Musk recently purchased Twitter and immediately began
17   laying off half its workforce in the first week of November 2022. On November 12, 2022,
18   Twitter laid off potentially thousands of employees (reportedly between 4,400 and 5,500) who
19   worked for Twitter through Magnit, including Plaintiff, without providing them with the required
20   notice under the federal and California WARN Acts or any payment in lieu of notice. The
21
     employees also did not receive their full final pay, benefits, and expense reimbursement the same
22
     day that they were terminated, as required by California law.
23

24

25

26

27
                                                   2
28                                      CLASS ACTION COMPLAINT
                   Case 3:22-cv-07222 Document 1 Filed 11/16/22 Page 3 of 8



1
     II.     PARTIES
2
             1.      Plaintiff Francisco Rodriguez is an adult resident of Culver City, California.
3
     Plaintiff Rodriguez worked for Twitter through Magnit as a Gaming Partnership Coordinator,
4
     assigned to Twitter’s office in Santa Monica, California, from approximately November 17,
5
     2021, until he was laid off on November 12, 2022.
6
             2.      Plaintiff brings this lawsuit as a Rule 23 class action on behalf of all affected
7
     employees who were employed by Twitter through Magnit and were terminated in connection
8
     with Elon Musk’s slashing of Twitter’s workforce, across the United States (with respect to the
9

10
     federal WARN Act claim) and in California (with respect to the California claims).

11           3.      Defendant Twitter, Inc. (“Twitter”) is a Delaware corporation, headquartered in

12   San Francisco, California.

13           4.      Defendant PRO Unlimited, Inc. d/b/a Magnit (“Magnit”), is a New York

14   corporation, headquartered in Bethpage, New York.

15   III.    JURISDICTION
16           5.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1331 and
17   29 U.S.C. § 2104(a)(5).
18           6.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s
19   state law claims, because those claims derive from a common nucleus of operative facts with
20   Plaintiff’s federal claim.
21
             7.      This Court has personal jurisdiction over Twitter, as it is headquartered in this
22
     District and conducts substantial business operations in this District.
23
             8.      This Court has personal jurisdiction over Magnit, as it conducts substantial
24
     business operations in this District.
25

26

27
                                                     3
28                                        CLASS ACTION COMPLAINT
                  Case 3:22-cv-07222 Document 1 Filed 11/16/22 Page 4 of 8



1
     IV.    STATEMENT OF FACTS
2
            9.        Twitter is a social media company that employs thousands of people across the
3
     United States.
4
            10.       In addition to individuals employed directly by Twitter, Twitter has employed
5
     thousands of employees through a payroll administration company, Magnit. There is no
6
     distinction between the work performed by Twitter’s direct employees and the work performed
7
     by the individuals whom Twitter paid through Magnit. Twitter dealt directly with these
8
     employees throughout the hiring process, including recruiting them and negotiating their
9

10
     compensation. These employees were directly supervised by Twitter managers, were assigned to

11   Twitter offices, and Twitter provided all equipment used for work.

12          11.       In April 2022, it was announced that multi-billionaire Elon Musk would be

13   purchasing the company.

14          12.       Following the purchase of the company by Elon Musk in late October 2022, Musk

15   immediately began a mass layoff that has been reported to have affected half of Twitter’s
16   workforce. See Kate Conger, Ryan Mac, and Mike Isaac, Confusion and Frustration Reign as
17   Elon Musk Cuts Half of Twitter’s Staff, NEW YORK TIMES (November 4, 2022),
18   https://www.nytimes.com/2022/11/04/technology/elon-musk-twitter-layoffs.html.
19          13.       Twitter began its mass layoff by terminating thousands of employees who Twitter
20   employed directly during late October and early November 2022.
21
            14.       Then, beginning on November 12, 2022, Twitter began laying off its employees
22
     who were paid through Magnit.
23
            15.       Plaintiff, like potentially thousands of other Twitter employees who were paid
24
     through Magnit, received an email on November 12, 2022, stating that he was being laid off,
25
     effective November 14, 2022.
26

27
                                                    4
28                                       CLASS ACTION COMPLAINT
                  Case 3:22-cv-07222 Document 1 Filed 11/16/22 Page 5 of 8



1
            16.     Twitter did not give 60 days advance written notice to the employees paid through
2
     Magnit who Twitter laid off, as required by the federal WARN Act, and for employees in
3
     California, the California WARN Act. Nor were the affected employees given pay in
4
     substitution for federal or California WARN Act notice.
5
            17.     These layoffs of employees who were paid through Magnit are part of the same
6
     mass layoffs affecting employees directly employed by Twitter. Twitter is a joint employer of
7
     the employees who were paid through Magnit, and thus Twitter is likewise responsible for
8
     complying for federal and state labor laws protecting these employees, including the federal and
9

10
     California WARN Acts and the California Labor Code.

11          18.     In addition, neither Twitter nor Magnit provided full final pay, benefits, and

12   expense reimbursement to these employees on their last day of employment, as required by the

13   California Labor Code. To date, these employees have still not received these full payments.

14          19.     Plaintiff is concerned that, absent court intervention, Defendants will seek

15   releases from laid off employees without informing them of their rights, statutory obligations, or
16   the pendency of this case. Plaintiff therefore seeks immediate relief to ensure that Defendants do
17   not violate the law and then seek to obtain releases from potentially thousands of employees who
18   do not have notice of their rights or the pendency of the claims brought here on their behalf.
19          20.     Indeed, Elon Musk engaged in similar behavior with respect to mass layoffs
20   conducted earlier this year at another company he owns, Tesla. In the summer of 2022, Tesla
21
     engaged in mass layoffs without providing advanced written notice as required by the federal and
22
     California WARN Acts. Former Tesla employees brought a suit against Tesla for these
23
     violations. See Lynch et al. v. Tesla, Inc., Civ. Act. No., 1:22-cv-00597-RP (W.D. Tex.). Tesla
24
     sought to obtain full releases of all federal and California WARN Act claims in exchange for
25
     small severance payments for less than the employees were legally entitled to, as alleged in the
26
     federal lawsuit. (Tesla offered one or two weeks’ severance pay, rather than the 60 days’ pay
27
                                                   5
28                                      CLASS ACTION COMPLAINT
                   Case 3:22-cv-07222 Document 1 Filed 11/16/22 Page 6 of 8



1
     required to satisfy the federal and California WARN Acts). See Lynch, 2022 WL 4295295, at
2
     *1-4.) A federal court ruled that Tesla’s conduct was “misleading because [the separation
3
     agreements] fail to inform potential class members of this lawsuit and the rights that they are
4
     potentially giving up under the WARN Act.” Id. at *4.
5
            21.     With respect to laid off employees who were paid directly by Twitter, Twitter
6
     stated that it would begin distributing severance agreements, including releases of claims,
7
     beginning last week. However, after employees filed a class action lawsuit and emergency
8
     motion seeking to block the distribution of releases without employees being informed of their
9

10
     claims and the pendency of the case, see Cornet et al v. Twitter, Inc., C.A. No. 3:22-cv-06857-JD

11   (N.D. Cal.) (Dkts. 6 and 7), Twitter agreed not to distribute releases until after the plaintiffs’

12   motion could be heard (assuming it could be heard promptly).

13          22.     In this case as well, Plaintiff seeks immediate relief to ensure that Defendants do

14   not violate the law and then seek to obtain releases from the potentially thousands of employees

15   who do not have notice of their rights or the pendency of the claims brought here on their behalf.
16
                                                 COUNT I
17                                           Federal WARN Act
18          Plaintiff and other affected employees who have worked for Twitter and been paid
19   through Magnit have been entitled to the rights, protections, and benefits provided under the
20   federal WARN Act, 29 U.S.C. § 2101 et. seq. 24. Defendants are subject to the notice and back
21
     pay requirements of the federal WARN Act because Twitter and Magnit are business enterprises
22
     that employed 100 or more employees, excluding part-time employees, and/or, employed 100 or
23
     more employees who in the aggregate work at least 4,000 hours per week (exclusive of
24
     overtime), as defined in the WARN Act. 29 U.S.C. §§ 2101(1)(A) and(B). Defendants are
25
     engaged in conducting mass layoffs but have not provided affected employees with the required
26
     notice under the federal WARN Act.
27
                                                     6
28                                        CLASS ACTION COMPLAINT
                  Case 3:22-cv-07222 Document 1 Filed 11/16/22 Page 7 of 8



1                                                COUNT II
                                           California WARN Act
2
            Plaintiff and other employees who have worked for Twitter out of California and paid
3
     through Magnit have been entitled to the rights, protections, and benefits provided under the
4
     California WARN Act, Cal. Lab. Code § 1400 et seq. Defendants are subject to the notice and
5
     back pay requirements of the California WARN Act because Twitter and Magnit are business
6
     enterprises that employed 75 or more employees, as defined in the California WARN Act, Cal.
7
     Lab. Code § 1400(a). Defendants are engaged in conducting mass layoffs but have not provided
8
     all affected employees with the required notice under the California WARN Act.
9

10
                                            COUNT III
11     Failure to Provide All Final Pay and Accrued Benefits Immediately Upon Termination
                              California Labor Code §§ 201, 203, 227.3
12
            Plaintiff and other employees who have worked for Twitter out of California and paid
13
     through Magnit and who were laid off have been entitled to immediate receipt of their full final
14
     pay, accrued benefits, and expense reimbursement, pursuant to Cal. Lab. Code §§ 201, 203, and
15
     227.3. Defendants have terminated these employees but failed to provide to them their full final
16
     pay, accrued benefits, and expense reimbursement immediately upon termination.
17

18
                                               JURY DEMAND
19
                Plaintiff requests a trial by jury on these claims.
20

21

22

23

24

25

26

27
                                                    7
28                                       CLASS ACTION COMPLAINT
                    Case 3:22-cv-07222 Document 1 Filed 11/16/22 Page 8 of 8



1
     WHEREFORE, Plaintiff requests that this Court enter the following relief:
2
              a. Declare and find that the Defendants have violated the federal WARN Act, 29 U.S.C.
3
                 § 2101 et seq., and the California WARN Act, Cal. Lab. Code §§ 1400 et seq.;
4
              b. Declare and find that the Defendants have violated the California Labor code §§ 201,
5
                 203, and 227.3.
6
              c. Certify this case as a class action;
7
              d. Award compensatory damages and penalties, in an amount according to proof;
8
              e. Award pre- and post-judgment interest;
9

10
              f. Award reasonable attorneys’ fees, costs, and expenses; and

11            g. Award any other relief to which the Plaintiff and other similarly situated employees

12               may be entitled.

13

14                                                      Respectfully submitted,

15
                                                        FRANCISCO RODRIGUEZ, on behalf of himself
16
                                                        and all others similarly situated,
17
                                                        By his attorneys,
18
                                                        _/s/ Shannon Liss-Riordan____________
19                                                      Shannon Liss-Riordan, SBN 310719
20                                                      Thomas Fowler (pro hac vice forthcoming)
                                                        LICHTEN & LISS-RIORDAN, P.C.
21                                                      729 Boylston Street, Suite 2000
                                                        Boston, MA 02116
22                                                      (617) 994-5800
23                                                      Email: sliss@llrlaw.com; tfowler@llrlaw.com

24

25   Dated:          November 16, 2022
26

27
                                                     8
28                                        CLASS ACTION COMPLAINT
